Case 5:23-cv-00544-R Document1-2 | Filed 06/20/23 Pagei1ofi1

fae 13-80A1
Exhibi \- 8
Sick Call Request

Part A: (To be completed by inmate/resident patient)
Name (Print): Or in Cr | Sh ch Date: | ~~ ) 720A
Number: AA [LOS~¢ Date of Birth: —~2->—/7 gS
Work Assignment: Al Ly A.
Work Hours: MW; fA. Housing Assignment: A IV _ 24
Reason for requesting Health Services Appointment (BE SPECIFIC): | cous iA! AL.

(dislocatel, Shou lbe/aen on [2-25-21 ND stil ia goasin ater takin orvdicone
Vcear fen Lop ) close tothe
Rope jot 2 eu hed this = NS vsterlea on (2- 6-2.
Inmate/Resident Patient Signature: Orn. Looe

W DO NOT WRITE BELOW THIS LINE ¥
(a a

Part B: (To be completed by Health Services Staff)

Heaith Services Reply:

Health Services Signature:

Date: \

White Copy: To Medical Records Yellow Copy: To inmate/Resident Patient

TATE

Proprietary Information — Not For Distribution ~ Copyrighted - Property of CoreCivic
